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                                      UNITED STATES DISTRICT COURT
                                        CHANGE OF PLEA MINUTES

Date: 03/31/2021                                                          Case No.:      1:19-CR-59
Time: 2:03 p.m. – 2:32 p.m. (00:29)                                       Judge:         Liam O’Grady
                                                                          Reporter :     S. Wallace
UNITED STATES of AMERICA                                                   Deputy Clerk: Paulina Miller
                                                                           Interpreter: None
             V.                                                            Language:     N/A

DANIEL EVERETTE HALE

Counsel for Defendant                                                            Counsel for Government
Todd M. Richman                                                                   Gordon D. Kromberg
Cadence Mertz                                                                     Alexander P. Berrang
                                                                                 Heather Schmidt
                                                                                 Laura Pino, FBI Special Agent

PROCEEDINGS:
                     Defendant w/d his NG plea as to Count 2 of the Superseding Indictment and PG to Count 2 of the
                     Superseding Indictment.
                     Court accepts plea.
                     Sentencing scheduled for Tuesday, July 13, 2021 at 10:00 a.m.
                     Jury Trial currently set for Monday, April 5, 2021 at 10:00 a.m. is REMOVED.
      ________________________________________________________________________


Matter called for:
[ ] Pre Indictment Plea         [X] Change of Plea                  [ ] Plea Agreement

 Filed in open court:
[ ] Information    [ ] Plea Agreement      [X] Statement of Facts   [ ] Waiver of Indictment
[ ] Consent Order of Forfeiture

 Arraignment & Plea:
[ ] WFA       [ ] FA           [ X ] PG

[X ] Deft entered a Plea of Guilty to Count 2 of the [X] Superseding Indictment [ ] Information
[X] Plea accepted.
[ ] Government’s Motion to dismiss
[ ] Order to follow.
[X] Deft Directed to USPO [X] Yes           [ ] No
[X] Case continued to Tuesday, July 13, 2021 at 10:00 a.m., for:
[ ] Jury Trial [ ] Bench Trial [ ] Pre-Guidelines Sentencing [ X ] Guidelines Sentencing

[ ] Deft Remanded     [ ] Deft Released on Bond      [ X ] Deft Continued on bond
